






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00066-CR






Robert Herrin, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT

NO. D-1-DC-11-904026, HONORABLE KAREN SAGE, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Robert Herrin seeks to appeal a judgment of conviction for aggravated robbery
of&nbsp;an&nbsp;elderly person.  The trial court has certified that:  (1) this is a plea bargain case from which
Herrin&nbsp;has no right of appeal, and (2) Herrin waived the right of appeal.  The appeal is dismissed.
See Tex.&nbsp;R. App. P. 25.2(a)(2), (d).


						___________________________________________

						Jeff Rose, Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Dismissed for Want of Jurisdiction

Filed:   March 2, 2012

Do Not Publish


